            Case 5:22-cv-07148-EJD Document 10 Filed 11/21/22 Page 1 of 5



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18
                                    UNITED STATES DISTRICT COURT
19
                                 NORTHERN DISTRICT OF CALIFORNIA
20
       FIBROGEN, INC.,                                           Case No. 3:22-cv-07148-LB
21

22                              Plaintiff,                       PLAINTIFF FIBROGEN,
                                                                 INC.’S AFFIDAVIT OF
23                      vs.                                      SERVICE OF SUMMONS,
                                                                 COMPLAINT, AND INITIAL
24     HANGZHOU ANDAO PHARMACEUTICAL
                                                                 DOCUMENTS SERVED
       LTD.; KIND PHARMACEUTICALS LLC;
                                                                 ON DEFENDANT,
25     DR. DONG LIU; and DR. SHAOJIANG
                                                                 KIND PHARMACEUTICALS,
       DENG,
26                                                               LLC

27                              Defendants.

28

                                                             1
     FibroGen, Inc. v. Hangzhou Andao Pharmaceutical LTD.,               PLF’S AFFIDAVIT OF SERVICE ON DEF.,
     et al.                                                        KIND PHARMACEUTICALS, LLC; 3:22-cv-07148-
     WEST\300800483.1
Case 5:22-cv-07148-EJD Document 10 Filed 11/21/22 Page 2 of 5
Case 5:22-cv-07148-EJD Document 10 Filed 11/21/22 Page 3 of 5
Attorney or Party without Attorney:      Case 5:22-cv-07148-EJD Document 10 Filed 11/21/22 PageFOR4COURT
                                                                                                    of 5USE ONLY
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Attorney for: Plaintiff FibroGen, Inc.
                                                                            Ref No. or File No.:
                                                                                     437692-000002


                                                             
   Plaintiff:   Fibrogen, Inc.
Defendant:      Hangzhou Andao Pharmaceutical, Ltd., et al.

                                                         HEARING DATE:                 TIME:       DEPT.:      CASE NUMBER:
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                                                                                                   Tolovae A. Faagau
                                                                                                            Tolovae Faagau



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             Case 5:22-cv-07148-EJDASAP   LEGAL10 Filed 11/21/22 Page 5 of 5
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  CLIENT FILE #:   437692-000002                                DATE: November 18, 2022

      SUBJECT:     Kind Pharmaceuticals LLC

       SERVED:     Kory Storer - Front Desk/Able to Accept
     Complaint - Public Version Demand for Jury Trial;
Civil Cover Sheet;Report on the Filing or Determiniation of an Action
Regarding a Patent or Trademark; Fibrogen, Inc.'s Certification of
Interested Entities or Persons; Order Setting Initial Case Management
Conference and ADR Deadlines; ADR Certification by Parties and
Counsel (blank); Alternative Dispute Resolution Procedures Handbook;
Standing Order for United States Magistrate Judge Laurel Beeler;
Procedures for Telephone Appearances Magistrate Judge Laurel Beeler;
Magistrate Judge Laurel Beeler Hearings Sheet; Standing Order for
All Judges of the Northern District of California Contents of Joint
Case Management Statement; ECF Text Notice - Case Assigned to
Magistrate Judge Laurel Beeler




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